1    SCOTT A. WEIBLE, ESQ. (009339)
     WEIBLE LAW FIRM PLLC
2
     1846 E. Innovation Park Drive
     Oro Valley, AZ 85755-1963
3
     Telephone: (520) 955-3660
4    scott@weible.com

5    Attorney for Debtor

6
                           IN THE UNITED STATES BANKRUPTCY COURT
7                                FOR THE DISTRICT OF ARIZONA
                                           TUCSON
8

9                                                 )   CHAPTER 13 PROCEEDINGS
     In re:                                       )
10                                                )   CASE NO. 4:17-bk-04540-SHG
     JESUS A. MALDONADO
                                                  )
11                                                )   DEBTOR’S OBJECTION TO
       Debtor
                                                  )   CLAIM NO. 2 OF CABRILLO
12                                                )   CREDIT UNION, AND NOTICE
                                                  )   THEREON
13                                                )
14

15          DEBTOR, Jesus A. Maldonado, by and through his undersigned counsel, Scott A.

16   Weible, Esq., Weible Law Firm, PLLC, objects to the following claim:

17          Claim No.              2

18          Claimant:              Cabrillo Credit Union
19          Claim Amount:          $2,258.77

20          Claim Type:            Secured

21          Date of Filing         05/30/2017

22   Upon the following grounds:

23          Creditor Cabrillo Credit Union filed a secured Proof of Claim in the amount of
            $2,258.77. In reviewing the backup documentation, this claim is for a MasterCard credit
24          card and should be treated as an unsecured claim.
25




     Case 4:17-bk-04540-SHG        Doc 36 Filed 11/15/17 Entered 11/15/17 12:36:51             Desc
                                    Main Document    Page 1 of 2
1
            Debtor objects to the treatment of Claim No. 2 as secured, and respectfully moves this
2

3
     Honorable Court to allow Claim No. 2 only as unsecured, unless, on or before 30 days from the

4    mailing of this objection the creditor EITHER:

5           1. Sends the proper documentation to Debtor’s Counsel - WITH A COPY OF THIS

6               NOTICE - AND receives from Debtor’s Counsel a withdrawal of objection;
7                  OR
8
            2. Files a written request for a hearing, AND SETS FORTH the specific grounds for such
9
                request, with the Clerk of the Bankruptcy Court, and mails a copy thereof to Debtor’s
10
                Counsel, Scott A. Weible, Esq., Weible Law Firm, PLLC, 1846 E. Innovation Park
11
                Drive, Oro Valley, AZ 85755-1963.
12
     Dated: November 15, 2017
13

14
                                                            /s/ Scott A. Weible__________________
15                                                          Scott A. Weible, Esq.
                                                            Weible Law Firm, PLLC
16                                                          Attorney for Debtor Jesus A. Maldonado
17
     A copy of the foregoing filed with the
18   United States Bankruptcy Court and
     mailed this 15th day of November, 2017, to:
19
     Cabrillo Credit Union
20   10075 Carroll Canyon Road
     San Diego, CA 92131
21   (858) 547-7400
22   Dianne Crandell Kerns, Chapter 13 Trustee
     7320 N. La Cholla, 154-413
23
     Tucson, AZ 85741-2305
24

25
     /s/ Scott A. Weible
     Scott A. Weible




     Case 4:17-bk-04540-SHG        Doc 36 Filed 11/15/17 Entered 11/15/17 12:36:51              Desc
                                    Main Document    Page 2 of 2
